        Case 1:23-cr-00347-JGK         Document 73        Filed 10/04/24     Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

        v.
                                                        Case No. 23 Cr. 347 (JGK)
 ALEXANDER MASHINSKY and RONI
 COHEN-PAVON,

                       Defendants.


  REPLY DECLARATION OF MICHAEL F. WESTFAL IN FURTHER SUPPORT OF
   ALEXANDER MASHINSKY’S MOTION TO PRESERVE THE TESTIMONY OF
      MATERIAL WITNESSES RESIDING OUTSIDE THE UNITED STATES

Pursuant to 28 U.S.C. § 1746, I, Michael F. Westfal, declare as follows:

       1.      I am an attorney admitted to practice before this Court and counsel with the law

firm Mukasey Young LLP.

       2.      I am a counsel of record for Defendant Alexander Mashinsky in the above-

captioned action.

       3.      I submit this reply declaration in further support of Mr. Mashinsky’s motion to

preserve the testimony of material witnesses residing outside the United States.

       4.      Attached as Exhibit 57 (and filed under seal) are excerpts of a video stamped as

SDNY_R05_00000001.

       5.      Attached as Exhibit 58 is a copy of the Mutual Legal Assistance Treaty Between

the United States of America and Israel signed on January 26, 1998 and entered into force May

25, 1999, and retrieved from the Department of State website at: https://www.state.gov/wp-

content/uploads/2019/02/12925-Israel-Law-Enforcement-MLAT-1.26.1998.pdf.

       6.      Attached as Exhibit 59 is a copy of the Mutual Legal Assistance Treaty Between

the United States of America and the Netherlands signed on September 29, 2004 and entered into
       Case 1:23-cr-00347-JGK          Document 73        Filed 10/04/24       Page 2 of 2




force February 1, 2010, and retrieved from the Department of State website at:

https://www.state.gov/wp-content/uploads/2019/02/10-201.41-Netherlands-EU-Mutual-Legal-

Assistance-Treaty.pdf.

       7.     Attached as Exhibit 60 is a copy of the Mutual Legal Assistance Treaty Between

the United States of America and Germany signed on October 14, 2003 and entered into force

October 18, 2009, and retrieved from the Department of State website at:

https://www.state.gov/wp-content/uploads/2019/02/09-1018-Germany-MLAT.pdf.

       I hereby declare under penalty of perjury that the foregoing is true and correct.

Dated: New York, New York                             /s/ Michael F. Westfal
       October 4, 2024                               Michael F. Westfal

                                                     MUKASEY YOUNG LLP
                                                     570 Lexington Avenue, Suite 3500
                                                     New York, New York 10022
                                                     Tel: (212) 466-6400
                                                     michael.westfal@mukaseylaw.com

                                                     Counsel for Defendant Alexander Mashinsky




                                                2
